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                IN THE UNITED STATES DISTRICT COURT FOR THE

                         EASTERN DISTRICT OF VIRGINIA                         ™nPEN%URT
                                                                     t
                                  Alexandria Division                               1 2 2016

                                                                         CLERK, U.S. DISTRICT COURT
                                                                            ALEXANDRIA. VIRGIK'IA

UNITED STATES OF AMERICA                    FILED UNDER SEAL


           V.                               CRIMINAL NO. 1:16-CR-114

SHAI COHEN,                                  18U.S.C. §371
                                            Conspiracy to Defraud and to Commit
           Defendant.                       Offenses Against the United States
                                            (Count 1)

                                            8 U.S.C § 1324(a)(2)(B)(ii), 18 U.S.C. § 2
                                            Bringing Aliens to the United States for
                                            Financial Gain
                                             (Counts 2-8)

                                             8 U.S.C § 1324(a)(l)(A)(iv), (a)(l)(B)(i),
                                             18 U.S.C. §2
                                             Encouraging and Inducing Aliens to
                                            Unlawfully Come to, Enter and Reside in
                                            the United States for Financial Gain
                                             (Counts 9- 18)

                                            8 U.S.C. § 1324(a)(l)(A)(iii), 18 U.S.C.§ 2
                                            Harboring Illegal Aliens
                                            (Counts 19-28)

                                             18U.S.C.§ 1956(h)
                                             Money Laundering Conspiracy
                                             (Count 29)

                                             8U.S.C.§ 1324(b), 18 U.S.C.
                                             §§ 981(a)(1)(C), 982(a)(1),
                                             982(a)(6)(A), 28 U.S.C. § 2461
                                             Asset Forfeiture



                                    INDICTMENT


                        May 2016 Term - At Alexandria, Virginia
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                                    GENERAL ALLEGATIONS


       At all times relevant to the Indictment:


       A.      The Defendant and Associated Business Entities

        1.     SHAI COHEN ("COHEN"), the defendant, a native of the State of Israel, had status

as a Lawful Permanent Resident of the United States. He first entered the United States via an H-


2B visa. At various times from in and around 2011 through in and around December 2013, he

served as the President, Vice President, Registrant, Officer, Principal and/or Owner, and otherwise

controlled, owned, registered, managed and/or operated, with the assistance of others both known

and unknown to the Grand Jury, various related United States business entities/companies,

including: STR Cosmetics Inc., STR Gratiae Cosmetics Inc., STR Consultation, Tomik Tom Inc.,

Tomikom Inc., Tora Ankave Inc., SCO Investments LLC, Gena Investments LLC, SYR Cosmetics

Inc., SSC Elite LLC, RSE International Inc., and Tomik Tom Dba Premier Skin Care.

        2.     These business entities marketed and sold retail beauty and skin care products, with

an emphasis on products allegedly from the Dead Sea region of Israel. The business entities sold

these products from retail space leased by COHEN and his associates, including kiosks, carts and a

retail store, at various mall-type locations in Virginia and Maryland. The retail outlets used by the

business entities to sell the products operated under various names, including Mica Beauty, Mica

Bella, Gratiae, Oro Gold, DPI Aging and Premier. Collectively, these business entities and

associated retail outlet operations are hereinafter referred to as "the Enterprise."

        3.     Beginning in 2011, COHEN and/or his associates filed Articles of Incorporation

with the Florida State Division of Corporations, the Commonwealth of Virginia State Corporation

Commission (SCC), the Nevada Secretary of State, and elsewhere. Some of the companies were

then established with the Internal Revenue Service (IRS) to obtain EINs (Employee Identification
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Numbers). The table below depicts the ownership structure of the companies that are known to

comprise the Enterprise, with listed addresses leased by the Enterprise:


     Business Entity/FEIN         Chartered      Officer(s)          Address on Corporate Documentation
    STR COSMETICS INC.                         SHAI COHEN,         11704 Fairfax Woods Way #20208 Fairfax, VA
                                   V A/2011
             XX-XXXXXXX                             T.A.           4231 Monument Wall Way #242 Fairfax, VA
STR GRATIAE COSMETICS INC.         VA/2012                         11704 Fairfax Woods Way #20208 Fairfax, VA
                                                    T.A.
             XX-XXXXXXX            FL/2012                         11704 Fairfax Woods Way #20306 Fairfax, VA
  STR CONSULTATION INC.
                                   NV/2012          T.A.                        Nevada Address
               NONE
      TOMIK TOM INC.               FL/2011     SHAI COHEN,         11704 Fairfax Woods Way #20208 Fairfax, VA
             XX-XXXXXXX            VA/2012          G.F.
       TOMIKOM INC.                            SHAI COHEN,         11704 Fairfax Woods Way #20208 Fairfax, VA
                                   FL/2012
               NONE                                 G.F.
     TORA ANKAVE INC.                              T.A.,           11704 Fairfax Woods Way #20306 Fairfax, VA
                                   FL/2012
             XX-XXXXXXX                             A.K.
   SCO INVESTMENTS LLC
                                   FL/2011     SHAI COHEN                       Florida Address
         XX-XXXXXXX
  GENA INVESTMENTS LLC                                             11704 Fairfax Woods Way #20208 Fairfax, VA
                                   FL/2012          G.F.
             XX-XXXXXXX                                            11730 Fairfax Woods Way #1108 Fairfax, VA
    SYR COSMETICS INC.
                                   FL/2012     SHAI COHEN          11704 Fairfax Woods Way #20208 Fairfax, VA
               NONE
    PREMIER SKIN CARE                         TOMIK TOM INC.      11704 Fairfax Woods Way #20208 Fairfax, VA
                                   VA/2012
  FICTITIOUS NAME FILING                       FAIRFAX CO.        FILED USING VA SCC ID# for TOMIK TOM
       SSC ELITE LLC
                                  VA/2013           S.A.         4231 Monument Wall Way #242 Fairfax, VA
         XX-XXXXXXX


       B.        The Visa Program and Nonimmigrant Employment in the United States

        4.        A citizen of a foreign country who wishes to enter the United States must first

obtain a visa, either a nonimmigrant visa for temporary stay, or an immigrant visa for permanent

residence. Under United States laws and regulations, non-citizens of the United States ("aliens")

are not permitted to work in the United States unless they obtain employment authorization from

the United States Government.


        5.        Aliens living outside of the United States can apply for a nonimmigrant

employment-based visa, referred to as an H-2B visa. The H-2B visa permits aliens to work in the

United States for a specified, temporary period of time for a specific employer. An employer

seeking to employ temporary alien employees via the H-2B visa must apply via an application

process involving at least three steps and at least three government entities: the United States
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Department of Labor (DOL), the United States Department of Homeland Security (DHS), and the

United States Department of State (DOS).         The H-2B visa program is subject to stringent

requirements and only a limited number of such visas are issued each year.

       6.        Visitor visas, known as B-1 and/or B-2 visas, are nonimmigrant visas for persons

who want to enter the United States temporarily, for business activities - excluding United States

employment - tourism, pleasure, or medical treatment. The B-l/B-2 visas are issued by the DOS.

A nonimmigrant visa is intended for an alien to enterthe United States for a temporary stay. There

are some activities which are prohibited for B-l/B-2 visa recipients. As indicated, one of these

prohibited activities is employment. A B-l/B-2 visa holder is not permitted to work or be paid

while in the United States.


        7.       As part of the B-l/B-2 nonimmigrant visa application process, applicants complete

the Form DS-160, Online Nonimmigrant Visa Application with the DOS.                 Form DS-160 is

submitted electronically to the DOS website via the internet.            Consular Officers use the

information entered on the DS-160 to process the visa application and, combined with a personal

interview, determine an applicant's eligibility for a nonimmigrant visa. Applicants certify with

their electronic signature that the applicant has read and understood the questions in the application

and that the answers are true and correct. They also certify that all declarations made on the

application are unsworn declarations made under the penalty of perjury.             In general, if a

nonimmigrant alien applying to enter the United States under a B-l/B-2 or other non-employment

visa classification declared their intention to work in the United States on the DS-160, doing so

would render the alien inadmissible and would consequently result in a denial of entry into the

United States.


        8.       United States Citizenship and Immigration Services (USCIS), a component of the

DHS, is the government agency that oversees lawful immigration to the United States. USCIS
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adjudicates the petitions and applications of potential immigrants and is therefore responsible for

administrating and regulating the various visa programs, petitions and applications available to

aliens desiring to come to or currently in the United States, including the H-2B temporary non-

agricultural worker visa, the B-l/B-2 temporary visitor visa, and the Form 1-539 Application to

Extend/Change Nonimmigrant Status.

          9.    Once DOS approves the B-l/B-2 visa, aliens enter the United States via a port of

entry to the United States and are subject to inspection by U.S. Customs and Border Protection

(CBP), part of the DHS. Aliens seeking to lawfully enter into the United States must establish

their admissibility to the satisfaction of the CBP officer. This is done as part of the inspection

process. As part of this process, aliens travelling on a nonimmigrant visa complete a Form 1-94

Arrival/Departure Record.

          10.   A B-l/B-2 visa is valid only for a certain period of time for a stay in the United

States, determined by CBP at entry, but not to exceed six months.            In order to extend the

authorized stay on a B-l/B-2 visa, a Form 1-539 Application to Extend/Change Nonimmigrant

Status must be filed with and approved by USCIS. Applicants certify under the penalty of peijury

with their signature that the applicant has read and understood the questions in the application and

that the answers and supporting evidence submitted are true and correct. Some of the material

questions in the Form 1-539 include: address where the applicant will stay, source of economic

support during stay, whether the applicant has done anything to violate the terms of their current

visa status and whether the applicant has been employed in the United States.

          11.   A B-l/B-2 visa holder that enters the United States as part of an arrangement to

illegally work in the United States, or engages in such work while within the United States, has

violated the terms of his or her B-l/B-2 visa and is not eligible to enter and/or remain in the United

States.
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        12.    The Visa Waiver Program (VWP) provides for visa-free travel by nationals of

designated countries coming to the United States for tourism or business (B visa purposes) for a

period not to exceed 90 days, provided the national is from a designated country. Admission to the

United States under the VWP prohibits the holder to work for a United States employer.

        13.    A VWP holder that enters the United States as part of an arrangement to illegally

work in the United States, or engages in such work while within the United States, has violated the

terms of the VWP and is not eligible to enter and/or remain in the United States.

        14.    An F-1 visa permits the visa holder to engage in academic study in the United States

if certain requirements are met and only permits employment under limited circumstances in

relation to the student's course of academic study.

        15.    An F-1 visa holder that enters the United States as part of an arrangement to

illegally work in the United States, or engages in such work while within the United States, under

circumstances that are not authorized by the F-1 program, has violated the terms of the F-1 visa

and is not eligible to enter and/or remain in the United States.

      C.       The Enterprise's Scheme to Obtain Illegal Foreign Workers and Emplov them in the
               United States


       16.     From in and around 2011 through in and around December 2013, the Enterprise

recruited, hired, and employed foreign nationals from primarily Israel to work as employees in its

kiosks and stores in malls in the United States. The Enterprise secured the services of many of its

illegal workers using the assistance of Israel-based recruiting services on retainer for a monthly

service charge. First, various communications occurred between Enterprise personnel (to include

COHEN, his kiosk/store managers, office assistants, and other employees) and contacts at the

recruiting service and prospective recruits. Then, after an agreement was reached for an alien's

U.S. employment, including travel, housing and other subjects of negotiation, the Enterprise paid a

fee to the recruiting service for a successful placement. The fee ranged in price depending on the
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U.S. immigration status of the recruit, with the least expensive recruits being those persons who

held or would obtain B-l/B-2 visitor visas. If prospective employees did not already have a visa,

the recruiting service would assist individuals in obtaining one for travel to the United States, even

though such visas would not allow for employment. Since 2011, many such persons entered the

United States via B-l/B-2 visitor visas to work for the Enterprise.

       17.     From in and around 2011 through in and around December 2013, the Enterprise

also hired and employed illegal workers who had previously come to the United States on B-l/B-2

or other non-employment visas, and had illegally worked for similar Dead Sea product retail

operations prior to their employment with the Enterprise.

        18.    A small number of Enterprise personnel, including COHEN and his associates who

served as managers of retail locations, had immigration status in the United States that allowed for

their employment. Only for this categoryof personnel did the Enterprise engage in some reporting

of wages and employees to the Internal Revenue Service and state employment agencies, as well

as applying for and reporting such employees to the Department of Labor (DOL), Department of

State (DOS) and the Department of Homeland Security (DHS). When and if wages were reported

for the small percentage of Enterpriseemployees that had legal status to work in the United States,

the reports were, at times, inaccurate.

        19.    The Enterprise used B-l/B-2 and other non-employment visa holders as its primary

foreign workforce in the United States, rather than attempt to obtain workers through the legal

means provided by the H-2B visa process. As such, the Enterprise did not disclose its B-l/B-2 or

other non-employment visa holding foreign workforce to any government agency. The Enterprise

did not withhold employment or income taxes from the compensation it provided to its B-l/B-2 or

other non-employment visa holding employees, and did not report those employees to the IRS or

state employment agencies.
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       20.     Following the recruitment of foreign nationals in Israel to work in the United

States, Enterprise personnel entered into employment contracts with such individuals, whereby the

Enterprise would agree to pay for some or all of the transportation costs to bring them to and

within the United States,    This included assistance with international travel arrangements and

providing for housing and transportation to and from work in the United States, and also providing

pickup from the airport upon arrival in the United States. The Enterprise also agreed to pay

employees on a commission basis for sales conducted in the United States. However, employees

were required to reimburse the Enterprise for transportation, housing and other related expenses

via deductions from the employees' pay, significantly reducing what they were paid for their work.

       21.     Prior to an employee's arrival in the United States, Enterpriseand recruiting service

personnel in Israel exchanged via e-mail certain documents and information related to the pending

arrival, including, at times, a biographical summary, travel itinerary, and the aforementioned

employment contract.     Such emails were sent to and circulated amongst various Enterprise

personnel, including COHEN, his assistants, and retail location managers. In certain situations,

employees were provided with addresses to use on their Form 1-94 Arrival/Departure records and

briefed on how to act and what to say and do during the CBP inspection process. In some

instances, employees were also provided with copies of hotel reservations that were subsequently

cancelled before any charges were incurred, for use on their immigration forms and to show

immigration authorities in orderto make their status as visiting tourists appear more credible.

       22.     In violation of their B-l/B-2 visitor or other visa status. Enterprise employees

traveled to the United States and worked at the various kiosks in malls in Virginia and Maryland.

Enterprise workers engaged in illegal employment were primarily compensated for their work via

under the table cash payments or the transfer of money to stored value payment cards, rather than a

legitimate payroll system.
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      D.         The Enterprise's Financial Structure and Transactions in Furtherance of the Criminal
                 Scheme



       23.       From in and around November 2011 through in and around December 2013, the

Enterprise maintained various merchant service accounts used for the collection and deposit of

payments for products sold at Enterprise retail locations. During the same time period, the

Enterprise also maintained various bank accounts with Bank of America.                 Funds from the

Enterprise-controlled merchant service accounts were moved into these Bank of America

accounts. Specific Enterprise Bank of America accounts were then used for making payments to

COHEN and other managers and employees (including via transferring funds onto stored value

payment cards); rental payments for office space, apartments, mall kiosks and store locations;

airline tickets, vehicles and local transportation costs; recruiting costs, utility payments for

apartment locations, point of sale software used at the retail locations and other business costs.

       24.       The table below depicts the ownership structure of bank accounts which were held

in the name of and used by the Enterprise, with listed addresses leased by the Enterprise:

       Bank of America kzQOvokXlOwner                Account #             Address on Account
             STR COSMETICS INC.                                      11704 Fairfax Woods Way #20208
                                                  ♦***♦***6781
               Shai COHEN, T.A.                                             Fairfax, VA 22030
   STR COSMETICS C/0 TOMIK TOM INC.                                  11350 Random Hills Rd. Suite 800,
                                                   (as of 10/1/12)
                                                                            Fairfax, VA 22030
               STR COSMETICS                                         11704 Fairfax Woods Way #20208
                                                  ******** 7862
               Shai COHEN. T.A.                                             Fairfax, VA 22030
           STR GRATIAE COSMETICS                             7Q23
                                                                     11704 Fairfax Woods Way #20306
               Shai COHEN. T.A.                                             Fairfax, VA 22030
 STR CONSULTATION INC. C/0 TOMIK TOM                                 11350 Random Hills Rd. Suite 800
                                                  ******** 6969
               Shai COHEN. T.A.                                             Fairfax, VA 22030
               TOMIK TOM INC.                     ******** 7749      11704 Fairfax Woods Way #20208
                                                                            Fairfax, VA 22030
               TOMIK TOM INC.                                        11350 Random Hills Rd. Suite 800,
                                                   (as of 10/1/12)
                                                                            Fairfax,VA 22030
               TOMIK TOM INC.                                9g95    11704 Fairfax Woods Way #20208
               Shai COHEN. G.F.                                             Fairfax, VA 22030
                TORA ANKAVE                                           4231 Monument Wall Way #135
                                                             7532
                Shai COHEN, T.A.                                            Fairfax, VA 22030
               TOMIK TOM INC.                                7914    11704 Fairfax Woods Way #20208
             (G.F. individual account)                                      Fairfax, VA 22030
               TOMIK TOM INC.                                        11704 Fairfax Woods Way #20208
                                                  ******** 7600
               Shai COHEN, G.F.                                             Fairfax, VA 22030
               TOMIK TOM INC.                                975Q    11350 Random Hills Rd. Suite 800
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          (Shai COHEN individual account)                                 Fairfax, VA 22030
                TOMIK TOM INC.                  •^tnnnnnfHi 6943   11350 Random Hills Rd. Suite 800
                                                                          Fairfax, VA 22030
                 TOMIKOM INC.                                      11704 Fairfax Woods Way #20208
                                                »***♦♦»* 6888
                Shai COHEN, C.F.                                          Fairfax, VA 22030
                                                                   11704 Fairfax Woods Way #20208
            SCO INVESTMENTS LLC                           7930
                                                                          Fairfax, VA 22030
                                                                   11704 Fairfax Woods Way #20208
                   Shai COHEN                   ****♦«»* 1052
                                                                          Fairfax, VA 22030
                                                ♦***»♦♦* 7546
                                                                   4162 Monument Hill Way #13202
                       G.F.
                                                                          Fairfax, VA 22030


          26.    From in and around November 2011 through in and around December 2013,

Enterprise accounts with Bank of America took in approximately $3.96 million through merchant

services accounts and credit card processing accounts for sales occurring at Enterprise kiosks and

stores.


          27.    From in and around 2011 through in and around 2013, COHEN leased business

office space located at 11350 Random Hills Rd. Suite 800 in Fairfax, Virginia where he oversaw

the activities of the Enterprise, along with several of his assistants and subordinate employees.

The office was leased in the name of STR Consultation.

          28.    From in and around 2012 through in and around December 2013, apartments were

leased by Enterprise personnel, including COHEN, to house employees. The apartments were

leased in the names of business entities and/or individuals associated with the Enterprise. Along

with the employees, COHEN and other Enterprise personnel resided in the leased apartment

complexes. Approximately $309,654.00 was paid from the Enterprise Bank of America accounts

on rent and utilities for employee housing at these apartments. The apartment lease structure was

as follows:




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               APARTMENT ADDRESS                              RESroENT/LESSEE     START             END

11602 Fairfax Meadows Circle #16108, Fairfax, VA 22030         TOMIK TOM INC.    10/8/2013        10/5/2014

11600 Fairfax Meadows Circle #16003, Fairfax, VA 22030         TOMIK TOM INC.    10/23/2012       1/22/2014

11600 Fairfax Meadows Circle, Detached Garage #11606-6         TOMIK TOM INC.    10/23/2012       1/22/2014

 11704 Fairfax Woods Way #20306, Fairfax, VA 22030                 COHEN         7/26/2012        7/25/2014

 11704 Fairfax Woods Way, Detached Garage #11618-1                 COHEN         7/26/2012        7/25/2014

  11717 Fairfax Woods Way #14012, Fairfax VA 22030            TOMIK TOM/COHEN    10/27/2013       10/26/2014

  11730 Fairfax Woods Way #1308, Fairfax, VA 22030            TOMIK TOM/COHEN    8/28/2012        8/28/2014

  11730 Fairfax Woods Way #1108, Fairfax, VA 22030            TOMIK TOM./COHEN   5/20/2013        5/19/2014

   4231 Monument Wall Way #421 Fairfax, VA 22030                 COHEN, Y.H.     9/16/2013        3/30/2014

 4231 Monument Wall Way, Closet Storage Unit #C403               COHEN, Y.H.     9/16/2013        3/30/2014

   4231Monument Wall Way #242 Fairfax, VA 22030                  COHEN, S.A.     8/14/2012        5/25/2014

   4231Monument Wall Way #135 Fairfax, VA 22030                     T.A.         10/31/2012       6/29/2014

  11714 Fairfax Woods Way #22103, Fairfax, VA 22030            TOMIK TOM, INC.   7/18/2012        7/17/2013

  11704 Fairfax Woods Way #20208, Fairfax, VA 22030                 G.F.         6/1/2012         5/31/2013

  11702 Fairfax Woods Way #20203, Fairfax, VA 22030                COHEN         7/6/2012         7/25/2014

11614 Fairfax Meadows Circle #18311, Fairfax, VA 22030         TOMIK TOM INC.    10/28/2012       10/27/2013

11606 Fairfax Meadows Circle #17307, Fairfax, VA 22030         TOMIK TOM INC.    3/1/2013         2/28/2014

11600 Fairfax Meadows Circle #16101, Fairfax, VA 22030         TOMIK TOM INC.    10/20/2012       10/19/2013

11600 Fairfax Meadows Circle #16203, Fairfax, VA 22030         TOMIK TOM INC.    10/28/2012       10/27/2013



         29.     From in and around 2011 through in and around December 2013, COHEN and/or

 Enterprise personnel operating on his behalf, leased mall kiosk and store locations in Virginia and

 Maryland. COHEN and/or his associates served as owner or contact person on the leases and

 maintained contact with all of the malls. COHEN and other Enterprise personnel communicated

 with the mall management regularly via email regarding lease agreements, day to day operations,

 sales reports, and complaints. The Enterprise's Bank of America accounts were used to pay rent

 for the retail locations at malls.

         30.     From in and around 2012 through in and around December 2013, COHEN and/or

 his associates owned or leased a fleet of vehicles in Virginia used to transport themselves and

 illegal workers. These vehicles were registered by Enterprise personnel using the residential

 addresses at the apartment complexes leased by the Enterprise. Enterprise bank and/or creditcard

 accounts paid for the vehicles and for the vehicle registrations, maintenance, and fuel costs.


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       31.     From in and around 2012 through in and around December 2013, the Enterprise

utilized a recruiting service known as JOBANK (a/k/a Job Overseas or Giovenco), based in Tel

Aviv, Israel to secure B-l/B-2 and other non-employment visa workers. COHEN and other

Enterprise personnel operating on his behalf communicated via email regularly with this recruiting

service regarding all aspects of recruiting, hiring, and making arrangements for illegal workers to

come to and reside in the United States.


       32.     From in and around 2012 through in and around December 2013, international

transfers were made from Enterprise bank accounts in the United States to the JOBANK bank

account in Israel. In total, approximately $30,427.11 in international transfers were sent from

Enterprise Bank of America accounts ending in 9695, 7862 and 7600 in the name of Tomik Tom

Inc. and STR Cosmetics Inc. to the JOBANK account. These transfers by the Enterprise were to

pay the fees for JOBANK's recruiting services, including its retainer fees and payments for the

successful placement of illegal workers.

       33.     From in and around 2012 through in and around December 2013, JOBANK and the

Enterprise utilized Israel-based foreign travel agencies, including ISSTA. JOBANK personnel,

COHEN and his Enterprise associates communicated via email regularly with these travel agencies

regarding airline reservations for employees. The travel agencies assisted with making

international airline reservations for some ofthe employees' travel to and from the United States.

       34.     From in and around 2012 through in and around December 2013, numerous

international transfers were made from Enterprise bank accounts in the United States to the bank

accounts of foreign travel agencies in Israel.     In total, at least approximately $15,151.00 in

international transfers was sent from Enterprise Bank of America accounts to the foreign travel

agency accounts. These transfers by the Enterprise were to pay the fees for booked airline tickets.




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During the period of the conspiracy, total Enterprise bank account expenditures for airfare were

approximately $56,788.00.

       35.     From in and around 2012 through in and around December 2013, numerous

transfers were sent from Enterprise Bank of America bank accounts filled with proceeds generated

by its retail operations, specifically the STR Consultation Inc. c/o TOMIK TOM *6969 and

Tomikom Inc. *6888 accounts, to Payoneer Payment Solutions ("Payoneer") to fund stored value

payment cards used to pay the Enterprise's illegal workforce. In total, approximately $275,367.00

in transfers was sent from the specified Enterprise accounts to Payoneer. At least twenty-nine (29)

known B-l/B-2 or other non-employment visa employees were paid by the Enterprise via the

stored value cards.




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                                             COUNT ONE


              (Conspiracy to Defraud and to Commit Offenses Against the United States)

         THE GRAND JURY CHARGES THAT:


        1.       The factual allegations contained in the General Allegations section are incorporated

herein by reference as if set out in full.

        2.       Beginning in and around 2011, and continuing through in and around December

2013, the exactdates being unknown to the Grand Jury, in the Eastern District of Virginia and

elsewhere, SHAI COHEN, the defendant (COHEN), and others known and unknown to the Grand

Jury, did knowingly andwillfully combine, conspire, and agree with each other and others known

and unknown to the Grand Jury, to:

         a. defraud the United States of America concerning one or more of its lawful government

 functions and rights hereafter described, that is:

                 i. To defraud the United States by impeding, impairing, and obstructing the lawful

         governmental functions of the DOL to administer, regulate and enforce the regulations and

         laws relating to the implementation of the H-2B nonimmigrant visa program;

                 ii. To defraud the United States by impeding, impairing, and obstructing the lawful

         governmental functions of DHS to administer, regulate and enforce the regulations and

         laws related to the hiring, employment and presence of aliens in nonimmigrant status and

         immigrant status in the United States;

                iii. To defraud the United States by impeding, impairing, and obstructing the lawful

        governmental functions of DOS to administer, regulate and enforce the regulations and laws

        related to the application, processing, and approval of visas in the United States;

                iv. To defraud the United States by impeding, impairing, and obstructing the lawful

        governmental functions of DHS to regulate and enforce violations, regulations and laws

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       relating to transporting, harboring, unlawfully employing, and encouraging and inducing

       illegal aliens;

       b. commit one or more of the following offenses, that is:

                i. To encourage and induce aliens to come to, enter and reside in the United States,

        knowing and in reckless disregard of the fact that such coming to, entry, and residence in

        the United States is and will be in violation of Title 8, United States Code, Section

        1324(a)(l)(A)(iv);

                ii. To conceal, harbor and shield from detection aliens illegally present in the

        United States in buildings and other places, including any means of transportation for

        purpose of commercial advantage and private financial gain, in violation of Title 8, United

        States Code, Section 1324(a)(l)(A)(iii); and

                iii. To transport and move illegal aliens within the United States by means of

        transportation and otherwise in furtherance of such violation of law for the purpose of

        commercial advantage and private financial gain, in violation of Title 8, United States

        Code, Section 1324(a)(l)(A)(ii).

                                     OBJECT OF THE CONSPIRACY


        3.          The primary purpose of the conspiracy was to profit from illegally employing

 foreign nationals who were in the United States on visitor visas.

                         WAYS. MANNER AND MEANS OF THE CONSPIRACY


        The ways, manner and means by which the foregoing objective of the conspiracy to defraud

the United States and commit offenses against the United States was to be accomplished included the

following:

        5.       It was part of the conspiracy that the conspirators provided airplane tickets and

 travel itineraries for B-l/B-2 and other non-employment visa holders, who were visa violators due

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to their arranged employment in the United States, to travel to and within the United States for the

purpose of illegal employment with the Enterprise.

        6.      It was further a part of the conspiracy that conspirators and others provide the visa

violators with transportation by automobile or other means upon their arrival in the United States

to the conspirators' places of employment and to the apartments where the visa violators would be

residing while employed.

        7.      It was further a part of the conspiracy that conspirators and others at the behest of

the conspirators, to provide housing to the visa violators to whom the conspirators had provided

employment. Such housing consisted of apartments that were leased by conspirators or under the

name of related Enterprise business entities. Conspirators would thereafter pay the rent for the

residence as well as the utilities.


        8.    It was further a part of the conspiracy that the conspirators used their illegal Israeli

employees to market and sell conspirators' Israeli based line of beauty and skin care products at

kiosk and store locations in malls.


        9.      It was further a part of the conspiracy that conspirators paid the Enterprise

employees who were visa violators in cash and/or stored value payment cards, or other means

without reporting such payments to the appropriate employment or taxingauthorities.

        10.     It was further a part of the conspiracy that conspirators deducted often substantial

sums of money from the pay of the employees for housing, transportation, and other related

expenses.


        11.     It was further a part of the conspiracy that the conspirators employed visa violators

contrary to the regulations set forth by the DOS, DHS, and DOL.

                                           OVERT ACTS



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       In furtherance of the conspiracy and to bring about the objects and goals of the conspiracy

to defraud and to commit offenses against the United States, SHAI COHEN, along with other

known and unknown conspirators, committed overt acts in the Eastern District of Virginia, and

elsewhere, including but not limited to the following:

        1.     On or about April 6, 2011, COHEN incorporated Tomik Tom Inc. in Florida, using

the address of a residence leased by himself and a conspirator at the Reserve at Fairfax Comer

apartment complex, 11704 Fairfax Woods Way #20208 Fairfax, Virginia, as the corporate

registration address.

       2.      In and around May 2011, COHEN and an Israel-based recruiting company named

MAKA reached an agreement for MAKA to begin recruiting workers for the Enterprise.

        3.     In and around January 2012, COHEN and JOBANK reached an agreement for

JOBANK to begin recruiting workers for the Enterprise.

       4.      On January 20 and 21, 2012, emails were exchanged between COHEN and

conspirator T.A., where COHEN directed T.A. to select the name for a new business they were

preparing to establish. T.A. responded that "TORA" was the choice. COHEN replied that he

would check to see if the name was available and stated that he was leaving the next day to visit

friends in Florida, subsequently identified as Florida-based business associates of the Enterprise.

        5.     On or about February 1, 2012, Enterprise entity Tora Ankave Inc. was incorporated

in Florida, under T.A.'s name, but listing as T.A.'s Florida address a residence associated with

COHEN, in Jacksonville, Florida. The corporate registration address was the address of a

residence leased by COHEN at an Enterprise-leased apartment complex, 11704 Fairfax Woods

Way #20306 Fairfax, Virginia.




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       6.      On or about February 1, 2012, February 1, 2013, March 1, 2013 and May 1, 2013,

COHEN signed leases on behalf of RSE International Inc. and STR Consultation Inc. do Tomik

Tom with Tysons Comer Mall in McLean, Virginia for Mica Beauty Cosmetics retail locations.

       7.      On March 28, 2012, COHEN emailed T.A. and R.G. a message which was

originally sent to COHEN by a business associate. The message content contained a management

proposal for 2012 for an Enterprise venture later identified as STR Inc. The management structure

detailed in the message describes the functions and responsibilities of each Enterprise partner,

salary and profit sharing, bank accounts, work schedules and time off, management of workers at

the kiosks and vehicles and residences paid for by the Enterprise.

       8.      On or about April 30, 2012, COHEN signed a lease on behalfof RSE International

Inc. with Tysons Comer Mall in McLean, Virginiafor an Oro Gold retail location.

       9.      On or about June 13, 2012, COHEN, on behalf of STR Cosmetics Inc., signed an

authorization for automatic bill payment of its lease fees from Enterprise Bank of America account

ending in 6781 with Tysons ComerMall in McLean, Virginia for an Oro Gold retail location.

       10.     On or about August 9, 2012, COHEN emailed an unknovm individual information

about his company and photographs that depict Enterprise conspirators, illegal workers, retail

locations and apartment complexes; COHEN included his phone number and an offer for the

individual to call with any questions.

       11.     On or about July 6, 2012, COHEN registered Tomik Tom Inc. to do business in

Virginia, using as the corporate mailing address 11350 Random Hills Rd, Suite 872, Fairfax,

Virginia.

        12.    On or about February 21, 2013, a lease was signed in the name of T.A., on behalf of

Tora Ankave Inc., with Westfield Montgomery Mall, in Bethesda, Maryland for a Mica Beauty

retail location.   From on or about August 22, 2013 through September 19, 2013, COHEN


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communicated via email with Westfield Montgomery Mall management about topics including the

design of a kiosk, terms of the lease and approval of the lease for a Mica Beauty retail location.

        13.     On or about May 1, 2013, COHEN signed a lease on behalf of STR Cosmetics Inc.

with Fashion Centre at Pentagon City in Arlington, Virginia for a Mica Beauty retail location.

        14.     On or about November 14, 2013, COHEN signed a lease on behalf of SSC Elite,

LLC with Fair Oaks Mall in Fairfax, Virginia for a Mica Beauty retail location.

        15.     Between in and around June 2012 and in and around October 2013, Enterprise

personnel including COHEN signed at least 19 apartment and storage unit leases extending into

2014, with several apartment complexes in Fairfax, Virginia.

        16.     Between in and around June 2011 through in and around March 2013, the

Enterprise purchased and leased various vehicles, including vans, SUVs and sedans, used during

the dates of the conspiracy to transport recruited alien employees from the airport upon their

arrival in the United States, and to transport such employees to and from the apartments where

they were housed to the mall locations where they were illegally employed. COHEN was the
registrant on at least eight of the vehicles.

        17.     During the dates of the conspiracy, COHEN and recruiting service personnel from

JOBANK sent numerous email communications regarding the status of recruiting efforts,

exchange of photos, biographical and background summaries on potential recruits; arrangements

for COHEN to speak with recruits, booking of airline tickets including via foreign travel agencies

such as ISSTA, booking of hotel reservations, terms of labor agreements with recruits, receipts and

invoices from JOBANK for recruited workers and from ISSTA for airline ticket fees, and related

topics, including but not limited to emails regarding the following individuals who would

subsequently be transported to the United States to live in Virginia for the purpose of employment

with the Enterprise: S.B.(l), S.B.(2), A.G., S.M., A.P., N.P., L.P., D.B., M.V. and M.A.


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        18.     On or about September 3, 2013, JOBANK personnel emailed COHEN airline ticket

reservations procured for S.B.(l), an incoming illegal worker, reflecting scheduled travel from Tel

Aviv, Israel to Washington Dulles International Airport in Virginia on September 20, 2013.

        19.     On or about September 17, 2013, COHEN sent an email to S.B.(l) attaching a

reservation for a hotel in Alexandria, Virginia.

        20.     On or about September 20, 2013, S.B.(l) entered the United States using a B-l/B-2

visitor visa.


        21.     From at least on or about September 25, 2013 through on or about December 16,

2013, S.B.(l) worked at Enterprise retail locations in Fairfax, Virginia.

        22.     On or about March 5, 2013, COHEN and T.A. received an email from JOBANK

personnel relating to incoming recruited illegal workers N.P. and S.B.(2). The message provided

COHEN with photos and biographical details for N.P. and S.B.(2), and also included an update

that JOBANK had procured their visas and the details of their recruitment by JOBANK staffers,

including information given to the recruits about the terms and conditions of their employment by

the Enterprise in the United States.

        23.     On or about March 11, 2013, JOBANK personnel emailed COHEN airline ticket

reservations procured for S.B.(2) and N.P., reflecting scheduled travel from Tel Aviv, Israel to

Baltimore Washington International Airport in Maryland in April 2013. The emails conveyed to

COHEN that JOBANK had "closed" the deal with N.P. and S.B.(2) and confirmed their airline

tickets were booked, with the prospective workers payingfor half and the Enterprise paying for the

other half of their flight costs to the United States.

        24.     On or about April 24, 2013, S.B.(2) and N.P. entered the United States using B-

l/B-2 visitor visas.




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        25.     From on or about May 1, 2013 through on or about July 25, 2013, S.B.(2) worked

at Enterprise retail locations in Fairfax, Virginia.

        26.     From on or about May 1, 2013 through in and around November 2013, N.P. worked

at Enterprise retail locations in Virginia and Maryland.

        27.     On or about May 30, 2013, N.P. was issued a Payoneer stored value card by the

Enterprise.

        28.     From on or about June 13, 2013 through in and around December 2013, the

Enterprise transferred money to N.P. using the card on various occasions.

        29.     On or about August 26, 2013, JOBANK personnel emailed COHEN airline ticket

reservations procured for A.G., reflecting scheduled travel from Tel Aviv, Israel to Washington

Dulles International Airport in September 2013.

        30.     On or about September 20, 2013, A.G. entered the United States using a B-l/B-2

visitor visa.


        31.     From in and around September 2013 through in and around October 2013, A.G.

worked at Enterprise retail locations in Virginia and Maryland.

        32.     On or about August 25, 2013, JOBANK personnel emailed COHEN airline ticket

reservations procured for S.M., reflecting scheduled travel from Tel Aviv, Israel to Washington

Dulles International Airport in October 2013.

        33.     On or about September 9, 2013, COHEN received an email from JOBANK

personnel about the labor agreement for S.M.'s employment, which was attached to the email,

requesting COHEN to contact S.M. about it; COHEN then forwarded the email to another

Enterprise email account.

        34.     On or about October 16, 2013, S.M. entered the United States using a B-2 visitor

visa.



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        35.     From in and around October 2013 through in and around December 2013, S.M.

worked at Enterprise retail locations in Virginia.

        36.     On or about October 30, 2012, JOBANK personnel emailed COHEN airline ticket

reservations procured for A.P., reflecting scheduled travel from Tel Aviv, Israel to Washington

Dulles International Airport in November 2012.

        37.     On or about November 7, 2012, A.P. entered the United States via the Visa Waiver

Program.

        38.     From in and around December 2012 through in and around March 2013, A.P.

worked at Enterprise retail locations in Virginia.

        39.     On or about August 7, 2013, JOBANK personnel emailed COHEN airline ticket

reservations procured for L.P., reflecting scheduled travel from Tel Aviv, Israel to Washington

Dulles International Airport in October 2013.

        40.     On or about October 30, 2013, L.P. entered the United States using a B-l/B-2

visitor visa.


        41.     From in or around November 2013 through in or around December 2013, L.P.

worked at Enterprise retail locations in Fairfax, Virginia.

        42.     On or about July 15, 2012, JOBANK personnel emailed COHEN airline ticket

reservations procured for D.B., reflecting scheduled travel from Tel Aviv, Israel to Washington

Dulles International Airport in July 2012.

        43.     On or about July 24, 2012, D.B. entered the United States using a B-2 visitor visa.

        44.     From in and around October2012 through in and around July 2013, D.B. worked at

Enterprise retail locations in Virginia.

        45.     On November 15, 2012, D.B. was issued a Payoneer stored value card by the

Enterprise.


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        46.   From on or about October 31, 2012 through in and around August 2013, the

Enterprise transferred money to D.B. using the card on various occasions.

        47.   On or about July 17, 2013, D.B was interviewed by law enforcement officers prior

to departing Washington Dulles International Airport in Virginia for Israel. D.B. denied his

employment in the United States. D.B. was found to be in possession of approximately $8,000 in

United States currency in denominations of $100 bills, and an "employee scorecard" in his name,

generated by the point-of-sale software program used by the Enterprise, reflecting sales and

commissions in September 2012.

        48.   On or about June 20, 2012, M.V. entered the United States using a B-l/B-2 visitor

visa.

        49.    On or about July 11, 2012, JOBANK personnel emailed COHEN airline ticket

reservations procured for M.V. reflecting scheduled travel from Washington Reagan National

Airport to Tel Aviv, Israel in November 2012. On the same date, an international transfer was sent

from STR Cosmetics' Bank of America account ending in 7862 in the United States to "Issta Israel

(Israeli Travel Co.)" in the amount of $1,456.74.

        50.    From in and around October 2012 through in and around December 2013, M.V.

worked at Enterprise retail locations in Virginia and Maryland.

        51.    On or about October 11,2012, M.V. was issued a Payoneer stored value card by the

Enterprise.

        52.    From on or about October 31, 2012 through in and around December 2013, the

Enterprise transferred money to M.V. using the card on various occasions.

        53.    On or about March 21, 2013, messages were exchanged between email accounts of

COHEN and a conspirator discussing M.A.'s passport details and the need to cancel an associated

hotel reservation by 6 p.m. on March 28,2013.


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        54.     On or about March 21, 2013, M.A. entered the United States using a B-l/B-2

visitor visa.


        55.     From in and around April 2013 through in and around December 2013, M.A.

worked at Enterprise retail locations in Virginia and Maryland.

        56.     On or about April 11, 2013, M.A. was issued a Payoneer stored value card by the

Enterprise.

        57.     From between in and around May 2013 through in and around December 2013, the

Enterprise transferred money to M.A. using the stored value card on various occasions.

        58.     During the dates of the conspiracy, numerous B-l/B-2 and other non-employment

visa holders, including but not limited to S.B.(2), N.P., D.B., M.V. and M.A. walked out of

Enterprise-leased apartments in Fairfax, Virginia and got into Enterprise vehicles to transit to

various area malls for work at Enterprise retail locations.

        59.     On or about August 9, 2012, COHEN emailed a prospective recruit information

about his company, including photos of retail locations being worked by conspirators at Virginia

malls and Fairfax, Virginia apartment complexes.

        60.     On or about August 13, 2013, COHEN received an email from JOBANK personnel

with a breakdovm of dates and charges incurred for summer recruiting services, indicating every

company was charged a $500 retainer, along with a breakdown of specific charges for Enterprise

companies "STR" and "TOMIQ" relating to named recruits.

        61.     On or about September 2, 2013, COHEN sent an email to JOBANK persormel

regarding an incoming recruited worker, N.A., who was concerned about his entry into the United

States, and was considering flying to Canada first before flying into the United States. In

COHEN'S email, he indicated that he called the worker and told him it would be better to enter in

Las Vegas.



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       62.     On or about September 17, 2013, COHEN and JOBANK personnel exchanged

emails about incoming workers A.G. and S.B.(l); JOBANK personnel advised COHEN about the

date the workers were scheduled to arrive via a British Airways flight, that the workers were

instructed to enter separately, and asked COHEN to call the workers to give them a "flight

briefing" and "relax them a bit." COHEN replied that he would call the workers soon.

       63.     On or about October 1,2013, COHEN received an email from a conspirator relating

to an incoming illegal worker recruit, Y.Y., providing a hotel reservation and indicating that

COHEN needed to forward the reservation and give Y.Y. a briefing before arrival on Friday.

COHEN subsequently forwarded the email to Y.Y. and provided his phone number.

       64.     On or about October 7, 2013, COHEN and JOBANK personnel exchanged emails

regarding a potential incoming recruit who had "cold feet" and backed out of the arrangement the

day before his flight was set to depart due to fear of entering the United States; COHEN inquired

whether he should contact the individual.

       65.     On or about November 19, 2013, COHEN received an email from JOBANK

personnel indicating that after a discussion with COHEN, it was agreed that JOBANK would

provide monthly summary invoices of charges incurred on the 28^'' of each month; COHEN
confirmed receipt of the email and listed his title as "Chief Executive."

       66.     On or about November 12, 2013, COHEN was sent a labor agreement for recruited

workers via email from JOBANK personnel with a request for signatures. The labor agreement

detailed aspects of the employment arrangement including the pickup and transport of recruits

from the airport upon arrival to the apartment where they would be housed, work locations at

"wagons" (kiosks) in malls; work attire, reimbursement of airfare, apartment rent, and how the

workers would be paid.




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       67.          On or about November 13, 2013, COHEN and JOBANK personnel exchanged

emails about how various recruited illegal workers, including S.M., L.P., and S.B.(l), were

performing at Enterprise retail locations including Fair Oaks; COHEN advised about the workers'

English abilities, motivation and sales figures.

       68.          On or about December 2, 2013, COHEN forwarded to his business email address,

via his personal email address, a copy of the STR Cosmetics 2013 operating agreement.

COHEN'S email signature listed himself as "President," and listed a business address of 11704

Fairfax Woods Way #20208. This address is an Enterprise-leased apartment that doubled as

COHEN'S personal residence.

       69.          On or about August 9, 2013, COHEN picked up recruited illegal employee M.A., a

B-l/B-2 visa holder, from an Enterprise-leased apartment complex in Fairfax, Virginia and

transported her to an Enterprise retail location using an Enterprise vehicle.

       70.          On or about December 5, 2013, COHEN was present at Enterprise retail outlets in

Virginia and supervised, led, and directed the activities of other workers, including known illegal

employees.

       71.          On or about December 17, 2013, COHEN was housing at least 13 illegal workers at

Enterprise apartments leased by COHEN and other conspirators in Fairfax, Virginia, including the

following:



                    Alien                                Location
             E.D.              11717 Fairfax Woods Way, Apt. 14012, Fairfax, VA 22030
             S.B.{1)           11730 Fairfax Woods Way, #1308, Fairfax, VA 22030
             S.B.(2)
             Y.Y.              11730 Fairfax Woods Way, #1308, Fairfax, VA 22030
             S.K.              11730 Fairfax Woods Way, #1108, Fairfax, VA 22030
             B.M.              11704 Fairfax Woods Way, #20306, Fairfax, VA, 22030
             L.P.              11730 Fairfax Woods Way #1308, Fairfax, VA 22030
             S.M.              11602 Fairfax Woods Way #16108, Fairfax, VA 22030
             M.A.              16000 Fairfax Meadows Cir, #16003, Fairfax, VA 22030

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    N.P.          11730 Fairfax Woods Way, #1108, Fairfax, VA 22030
    M.V.          11600 Fairfax Meadows Cir, #16003, Fairfax, VA 22030
    Z.B.          11730 Fairfax Woods Way, #1108, Fairfax, VA 22030
    Y.P.          11602 Fairfax Meadows Circle, #16108, Fairfax, VA 22030




              (All in violation of Title 18, United States Code, Section 371.)




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                                 COUNTS TWO THROUGH EIGHT


                       (Bringing Aliens to the United States for Financial Gain')


      THE GRAND JURY FURTHER CHARGES THAT:


        1.         On or about the dates listed below, in the Eastern District of Virginia and

elsewhere, SHAI COHEN, the defendant, and others known and unknown to the Grand Jury,

aiding and abetting each other, did knowingly, and for the purpose of commercial advantage and

private financial gain, bring certain aliens identified in the following Counts to the United States,

in any manner whatsoever, knowing and in reckless disregard of the fact that such aliens had not

received priorofficial authorization to come to, enter, and reside in the United States, regardless of

any official action which may later be taken with respect to such aliens. To wit, the visas used by

the aliens to come to, enter and reside in the United States were procured and used under false

pretenses.

             COUNT                             ALIEN                        APPROX. DATES


               2                               S.B.(l)                On or about 9/3/2013 through on
                                                                             or about 9/20/2013


               3                               S.B. (2)               On or about 3/5/2013 through on
                                                                             or about 4/24/2013


               4                                 A.G.                 On or about 8/11/2013 through on
                                                                             or about 9/20/2013


               5                                 S.M.                 On or about 8/15/2013 through on
                                                                            or about 10/16/2013


               6                                 A.P.                  On or about 10/18/2012 through
                                                                           on or about 11/7/2012


               7                                 N.P.                 On or about 3/5/2013 through on
                                                                             or about 4/24/2013
               8                                 L.P.                 On or about 7/31/2013 through on
                                                                            or about 10/30/2013



(In violation of Title 8, United States Code, Section 1324(a)(2)(B)(ii) and Title 18, United States
                                         Code, Section 2.)

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                              COUNTS NINE THROUGH EIGHTEEN


            (Encouraging and Inducing Aliens to Unlawfully Come to. Enter, and Reside
                               in the United States for Financial Gain)


      THE GRAND JURY FURTHER CHARGES THAT:


       1.          On or about the dates listed below, in the Eastern District of Virginia and

elsewhere, SHAI COHEN, the defendant, and others known and unknown to the Grand Jury,

aiding and abetting each other, did knowingly, and for the purpose of commercial advantage and

private financial gain, encourage and induce certain aliens identified in the following Counts to

come to, enter and reside in the United States, knowing and in reckless disregard of the fact that

such coming to, entry, and residence in the United States was in violation of law:



            COUNT                           ALIEN                             DATES


              9                             S.B. (1)              On or about 9/3/2013 through in
                                                                     and around December 2013


             10                             S.B. (2)              On or about 3/5/2013 through in
                                                                     and around December 2013


             11                               A.G.                 On or about 8/11/2013 through
                                                                     in and around October 2013

             12                               S.M.                 On or about 8/15/2013 through
                                                                    in and around December 2013


              13                              A.P.                 On or about 10/18/2012 through
                                                                      in and around April 2013

              14                              N.P.                 On or about 3/5/2013 through in
                                                                     and around December 2013


              15                              L.P.                 On or about 7/31/2013 through
                                                                    in and around December 2013




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      16                               D.B.                  On or about 7/3/2012 through
                                                                 on or about 7/17/2013

      17                               M.V.                 On or about 6/20/2012 through
                                                             in and around December 2013


      18                               M.A.                 On or about 3/21/2013 through
                                                             in and around December 2013




   (In violation of Title 8, United States Code, Section 1324(a)(l)(A)(iv), (a)(l)(B)(i) and
                        Title 18, United States Code, Section 2.)




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                          COUNTS NINETEEN THROUGH TWENTY-EIGHT

                                        (Harboring Illegal Aliens')


         THE GRAND JURY FURTHER CHARGES THAT:


          1.          On or about the following date ranges in the Eastern District of Virginia and

elsewhere, SHAI COHEN, the defendant, along with others known and unknown to the Grand Jury,

aiding and abetting each other, knowing and in reckless disregard of the fact that the following aliens

had come to, entered and remained in the United States in violation of law, did conceal, harbor and

shield, and did attempt to conceal, harbor and shield from detection such aliens in buildings and other

places, and by means of transportation, for the purpose of commercial advantage and private

fmancial gain:

           COUNT                               ALIEN                            DATES


                 19                            S.B. (1)               On or about 9/20/2013 through
                                                                      in and around December 2013


                 20                            S.B. (2)               On or about 4/24/2013 through
                                                                      in and around December 2013

                 21                             S.M.                     On or about 10/16/2013
                                                                          through in and around
                                                                             December 2013


                 22                             N.P.                  On or about 4/24/2013 through
                                                                      in and around December 2013

                 23                              L.P.                    On or about 10/30/2013
                                                                          through in and around
                                                                             December 2013


                 24                             D.B.                  On or about 7/24/2012 through
                                                                          on or about 7/17/2013

                 25                             M.V.                  On or about 6/20/2012 through
                                                                      in and around December 2013
                 26                             M.A.                  On or about 9/26/2013 through
                                                                      in and around December 2013



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      27                               B.M.                     On or about 10/16/2012
                                                                 through in and around
                                                                    December 2013


      28                                Z.B.                 In or around 2/8/2011 through
                                                             in and around December 2013




     (In violation of Title 8, United States Code, Section 1324(a)(l)(A)(iii) and Title 18,
                             United States Code, Section 2).




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                                      COUNT TWENTY-NINE


                                   TMonev Laundering Conspiracy")

        THE GRAND JURY FURTHER CHARGES THAT:


         1.    The factual allegations contained in the General Allegations section are

incorporated herein by reference as if set out in full.

         2.    Beginning in and around 2011, and continuing through in and around December

2013, in the Eastern District of Virginia and elsewhere, SHAI COHEN, the defendant (COHEN),

along with others known and unknown to the Grand Jury, did knowingly combine, conspire, and

agree with each other and with other persons known and unknown to the Grand Jury to commit

offenses against the United States in violation of Title 18, United States Code, Section 1956, to

wit:


         a.    To knowingly conduct and attempt to conduct financial transactions affecting

interstate and foreign commerce, which involved the proceeds of specified unlawful activity, that

is conspiracy to bring in and harbor aliens in violation of Title 18, United States Code, Section

371, as set forth in Count One of this Indictment, and bringing in and harboring aliens in violation

of Title 18, United States Code, Section 1324, as set forth in Counts Two through Twenty-Eight of

this Indictment; with the intent to promote the carrying on of specified unlawful activity, that is

bringing in and harboring certain aliens, and that while conducting and attempting to conduct such

financial transactions, knowing that the property involved in the financial transactions represented

the proceeds of some form of unlawful activity in violation of Title 18, United States Code,

Section 1956(a)(l)(A)(i).

         b.    To transport, transmit and transfer, and attempt to transport, transmit and transfer, a

monetary instrument and funds, from a place in the United States to or through a place outside the

United States, with the intent to promote the carrying on of specified unlawful activity, that is


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conspiracy to bring in and harbor aliens in violation of Title 18, United States Code, Section 371,

as set forth and charged in Count One of this Indictment, and bringing in and harboring aliens in

violation of Title 8, United States Code, Section 1324, as set forth in Counts Two through Twenty-

Nine of this Indictment in violation of Title 18, United States Code, Section 1956(a)(2)(A).

                                 OBJECT OF THE CONSPIRACY


       The object of the conspiracy was for COHEN and his conspirators to use the proceeds of

their conspiracy to defraud and commit offenses against the United States to induce, recruit, hire

for employment and transport foreign nationals on B-l/B-2 and other non-employment visas to the

United States for the purpose of those foreign nationals illegally engaging in work, and to pay,

house, and transport those foreign nationals once they were in the United States.

                    WAYS. MANNER AND MEANS OF THE CONSPIRACY


        1.    The Ways, Manner, and Means paragraphs 5 through 11, contained in Count One of

this Indictment are incorporated herein by reference as if set out in full.

                                            OVERT ACTS


        1.      The Overt Acts paragraphs 1 through 71 contained in Count One of this

Indictment are incorporated herein by reference as if set out in full.



                   (In violation of Title 18, United States Code, Section 1956(h).)




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                                 FORFEITURE ALLEGATION



THE GRAND JURY FURTHER ALLEGES AND FINDS PROBABLE CAUSE THAT:

  1. The defendant, if convicted of any of the violations alleged in Counts One through Twenty-

     Nine of this Indictment, shall forfeit to the United States, as part of the sentencing pursuant

     to Federal Rule of Criminal Procedure 32.2:


         a. Any property, real or personal, which constitutes, is derived from, or is traceable to

             the proceeds obtained, directly or indirectly, as a result of the violation;

         b. Any conveyance, includingany vessel, vehicle, or aircraft used in the commission

             of the violation; and

         c. Any property, real or personal, that is used to facilitate, or is intended to be used to

             facilitate, the commission of the violation.

  2. The defendant, if convicted of the violation alleged in Count Twenty-Nine of this

     Indictment, shall forfeit to the United States, as part of the sentencing pursuant to Federal

     Rule of Criminal Procedure 32.2, any property, real or personal, involved in the violation,

     or any property traceable to that property.

  3. If any property that is subject to forfeiture above, as a result of any act or omission of the

     defendant, (a) cannot be located upon the exercise of due diligence, (b) has been transferred

     to, sold to, or deposited with a third party, (c) has been placed beyondthe jurisdictionof the

     Court, (d) has been substantially diminished in value, or (e) has been commingled with

     other property that cannot be divided without difficulty, it is the intention of the United

     States to seek forfeiture of any other property of the defendant, as subject to forfeiture under

     Title 21, United States Code, Section 853(p).

  4. The property subject to forfeiture includes, but is not limited to, the following property:




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     a. A monetary judgment in the amountof not less than $3,960,000.00, representing the
        proceeds of Counts One through Twenty-Nine.



              (In accordance with Title 8, United States Code, Section 1324(b);
       Title 18, United States Code, Sections 98 1(a)(1)(C), 982(a)(1) and 982(a)(6)(A);
                       and Title 28, United States Code, Section 2461.)




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                                             A TRUE BILL:
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                                             FOREPERSON




                                             Respectfully submitted,

                                             DANAJ. BOENTE
                                             UNITED STATES ATTORNEY




                                      By:
                                             Angela Fiorentmo-Rios
                                             Special Assistant United States Attomey (LT)


                                             LESLIE R. CALDWELL
                                             ASSISTANT ATTORNEY GENERAL
                                             U.S. DEPARTMENT OF JUSTICE
                                             CRIMINAL DIVISION




                                      By:                             —z
                                             Michael Shec^gls--^
                                             Trial Attomey
                                             Human Rights & Special Prosecutions Section

Date:




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